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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
KATHLEEN MARTIN,                                                       :
                                                                       :
                                      Plaintiff,                       :        24-CV-03949 (JAV)
                                                                       :
                  -v-                                                  :      ORDER OF DISMISSAL
                                                                       :
CITIBANK, N.A., et al.,                                                :
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X

JEANNETTE A. VARGAS, United States District Judge:

        The Court having been advised at ECF No. 35 that all claims asserted herein have been

settled in principle, it is ORDERED that the above-entitled action be and is hereby DISMISSED

and discontinued without costs, and without prejudice to the right to reopen the action within

sixty days of the date of this Order if the settlement is not consummated.

        To be clear, any application to reopen must be filed within sixty days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Requests to extend the

deadline to reopen are unlikely to be granted.

        If the parties wish for the Court to retain jurisdiction for the purposes of enforcing any

settlement agreement, they must submit the settlement agreement to the Court by the deadline to

reopen to be “so ordered” by the Court. Unless the Court orders otherwise, the Court will not

retain jurisdiction to enforce a settlement agreement unless it is made part of the public record.
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       Any pending motions are moot. All conferences are canceled. The Clerk of Court is

directed to close the case.

       SO ORDERED.

Dated: May 16, 2025                               _________________________ ______
       New York, New York                             JEANNETTE A. VARGAS
                                                      United States District Judge




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